             Case 1:23-cv-00493-JAO-RT Document 1 Filed 11/29/23 Page 1 of 32 PageID.1
                                                                (
QR \G\     tiAkm. :gilroy", "m. noilani :mason
           c/o p.o. box 6541,                                            FILED IN THE
           l<ahuku Kau [Ocean View Hawaii ~96737]                UNITED STATES DISTRICT COURT
                                                                                       DISTRICT OF HAWAII
             [808-430-0799]
             [NoilaniGilroy@gmail.com]                                                     NOV 29 2023
              808-7(i5-0 71 0
            · 'i'mi-•,aIl,.:ria(11\111s11.~·11111 I                                 atlE_ o'clock and £" min.LM
                                                                             L.l!CY H. Carrillo, Clerk              M/
                              ~             IN THE UNITED STATES DISTRICT COUKr
                                                 FOR THE DISTRICT OF HAWAII


          ,--_,,HAW AlIAN RANCHOS ROAD                               THE JUDICIARY·STATE OF HAWAII
      :-.f ;MAINTENANCE CORPORATION, ROY                             HILO CIRCIBT COURT Civil No.
            ··S .HORNTON; MARCELLA LYNN                              "3CCV-23-00003 74@4926495/"
             . THORNTON; MATS FOGELVIK; MAJRA                        PETITION     TO      CONTEST    THE
                SHALESE FOGELVIK; CHRISTOPHER                        VALIDITY     OF     NONCONSENSUAL
                PINNOW; CURT HOLYK; PHILLIS MAY;                     COMMON        LAW      LIENS   AND
                GABE HECHLER; ROLAND PACKEY
                                                                     FRIVOLOUS                 FINANCING
                TAYLOR; TOM TYLER; JUNG &
                                                                     STATEMENTS, FOR EXPUNGEMENT,
                VASSAR, P.C.; FRANCIS L. JUNG;
                THOMAS WAYNE VASSAR; CAROL                           DAMAGES AND INJUNCTIVE RELIEF;
                MONAHAN JUNG; DAVID HARRISON                         EXHIBITS "l-"11 "; SUMMONS
                LAWTON; EMIL A. MACASINAG;
                ROBERT D. TRIANTOS; and TRIANTOS
                                                                     CaseNo.C V 2 3        00493 JAQ RT
                LAW, LLLC, DOES 1-10; DOE                            NOTICE OF REMOVAL PURSUANT
                CORPORATIONS 1-10; DOE                               RULE 3, REQUEST FOR INJUNCTIVE
                GOVERNMENTAL UNITS and OTHER                         RELIEF PURSUANT RULE 65(b),
                ENTITIES 1- 10,                                      COMPULSORY COUNTERCLAIM
                                           Petitioners               PURSUANT RULE 13, JOINDER OF
                                                                     PARTIES AS MANDATORY
           WILLIAM MICHAEL GILROY;                                   PURSUANT RULES 19 & 20 AND
           MATHILDA NOILANI MASON ["I am"s'
                                                                     SUBJECT TO RULE 14; (Service of
           honorable lords "william-111. family
                                                                     "PETITION to "Respondent(s)": November
           gilroy"/"m. noilani :mason" RP'sOI, sui juris
           administrators, bona fide claimants, third                15, 2023 A.D.); Certificate of Service and
           party interveners without presumption,                    Prayer attached; Copy unsigned
           Holders·in·Due·Course for [personas                       "PETITION" pages 1-30
           "WILLIAM M. GILROY"/"MATHILDA
           MASON "RP'sll" private express trusts)];
           DOES l-10; DOE CORPORATIONS l-10;
           DOE GOVERNMENT UNITS and OTHER
           ENTITIES 1-10,                                            Demand For JURY TRIAL Of 12 Peers

                                       Respondents.




            NOTICE OF REMOVAL AND REQUEST FOR INJUNCTIVE RELIEF, "h.l. william-m. :gilroy",          Page 1 of 31
            "m. noilani :mason" c/o p.o. box 6541, ocean view, Hawaii, near 96737
r::iceived By Mail                  Mailed On
                                    Dahil NOV 2 '· 202J c.,./
                                                  1
Date NOV 2 9 202.3 (;ll
Case 1:23-cv-00493-JAO-RT Document 1 Filed 11/29/23 Page 2 of 32 PageID.2



                                             accepted for deposit, payable to bearer
                                             Thirt y Thousand Dolla rs/ $30,000.00
                                             Restricted endo rseme nt
                                             ACCEPTED or




                                             accepted for deposit, payab le to beare r
                                             Thirty Thousand Dolla rs/ $30,000.00
                                             Restricted endo rsem ent
                                             ACCE~T.ED For Deposit
                                         ~ZaZ=f:i'I,~

                                       By:                                      •: ent
                                             For: MATHILDA N. MASON/Pri nciple
                                             Payab le to the bearer, Without recourse




            IN THE UNITED STATES DISTRICT COURJ
                 FOR THE DISTRICT OF HAWAH
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   NOTICE OF REMOVA L PURSUANT RULE 3, REQUEST FOR INJUNCTI VE
      RELIEF PURSUANT RULE 65(b), COMPULS ORY COUNTER CLAIM
   PURSUANT RULE 13, JOINDER OF PARTIES AS MANDAT ORY PURSUANT
               RULES 19 & 20 AND SUBJECT TO RULE 14;
  Index: page 2

  A: Definitions : pages 3-4

  B: Parties To Action: 1-13 each, pages 5-6

  C: Rule 20: Proposed Parties to Joinder For Petitioner(s ): 14-20 each, page 6

  D: Rule 20: Proposed Parties to Joinder For Respondent(s): 3 each, pages 7

  E: Rule 3 NOTICE OF REMOVAL: page 8

   F: 1: Allegation By Petitioner Of "NONCONSENSUAL" "LIENS": page 8

  G: 2: Allegation By Petitioner Of "FRIVOLOUS FINANCING STATEMENTS": pages 9-10

   H: Cause For Removal: pages 11-20

   I: Rule 65{b) REQUEST FOR INJUNCTIVE RELIEF: page 21

   J: FOR WILLFULL AND KNOWING IDENTITY THEFT and FOR WILLFUL AND KNOWING

   INVASION OF PRIVACY: pages 22-23

   Failure At Prior Notice Of Charges, Interest, Obligation, Default, Or Pending Lawsuit:
   pages 23-24

   Fee Schedule: pages 24-25

   Rule 14 (a){l) Third-Party Practice: serve summons and complaint on a nonparty who
   is or may be liable; see © and (D) above; pages 5-6

   Rule 13 COMPULSORY COUNTERCLAIM: pages 26-28

   Autograph Page, Service Page, Prayer Page: 29-31

   Exhibit Al: Copy "PETITION ... ": pages 1-30 from "Bob"; pages 32-62




   NOTICE OF REMOVAL AND REQUEST FOR INJUNCTIVE RELIEF h.l. william-m. :gilroy, Page 2 of 31
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                                           Definitions


  "bad faith" : generally implying or involving actual or constructive fraud, or a design to
  mislead or deceive another, or a neglect or refusal to fulfill some duty or some
  contractual obligation, not prompted by an honest mistake as to one's rights or duties, but
  by some interested or sinister motive.

  "billy': "William M. Gilroy" living flesh soul ; "h.l. william-m. :gilroy"; "honorable lord
  william-m. :gilroy"; non-corporate status; Natural State National status;

  "blasphemy": intended to wound the feelings or excite contempt and hatred or promote
  immorality. (immorality: the violation of moral laws, refers to an agent doing or thinking
  what they know is wrong).

  "Bob": living flesh souls, non-corporate status; "Robett Dale Triantos Esq.; Roy Jay
  Thornton; Marcella Lynn Thornton; Mats Fogelvik; Maira Shalese Fogelvik; Christopher
  Pinnow; Curt Halyk; Phillis M. May; Gabriel Hechler; Roland Patrick Taylor; Tom Tyler;
  Francis L. Jung Esq.; Carol Monahan Jung Esq.; Thomas Wayne Vassar Esq.; David
   Harrison Lawton Esq.; Emil A. Macasinag Esq.; (Henry T. Nakamoto Esq. ; Peter Kenji
   Kubota Esq.; Jeffrey A. Hawk Esq.); nonprofit decedent corporation"HAWAIIAN
   RANCHOS       ROAD       MAINTENANCE          CORPORATION,          a   Hawaii      nonprofit

   corporation", decedent "Triantos Law LLLC"; and et al has failed to state a claim upon
   which relief can be granted, a claim must conform to the standards set fo1th in Ashcroft v.
   Iqbal, 556 u.s. 662 (2009). Bell Atlantic v. Twombly, 550 U.S. 544 (2007). Fed. R.Civ. P.
   8(a) requires that claim for relief contain a sh01t and plain statement of the claim showing
   that the pleader is entitled to relief. That statement must contain enough factual matter to
   state a claim that is plausible on its face. Iqbal. 556 u.s. AT 678 (2009);

   "hypocrite" ; pretending to be something they are not in order to deceive others.

   "knowingly": "With knowledge; consciously; intelligently. The use of this word in an
   indictment is equivalent to an averment that the defendant knew what he was about to do,
   and, with such knowledge, proceeded to do the act charged. [U. S. v. Claypool (D. C.) 14
   Fed. 128.]   [Black's Law Dictionaty, 2nd Ed.]



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   "m. noilani :mason"c/o p.a. box 6541, ocean view, Hawaii, near 96737
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  "noilani": living flesh soul; "mathilda-noilani :mason"©™; "m. noilani-mason" ; "h.l. m.
  noilani mason"; non-corporate status; "Natural Kanaka Maole/HAWAIIAN
  NATIONAL"; [discovered the first of ''petitioner's" formal written complaint from a
  neighbor who were browsing the eCourt Kokua Website and e-mailed information via
  digital to e-mail: NoilaniG ilroyrci)gmail.com; then, a "rambunctious" process server came
  to deliver "un-certified" tick copies that came from the counsels for the "petitioners?"
  Without any judicial comt clerk's filing documents to consider delivered documents as
  officially "served". Date of process server's delivery day on November 15, 2023. A.D.];

  "MASON " word name used by the N ineteen (19) "Petitioners" are in violations of
  UNIFORM COMMERCIAL CODE.          One Hundred-Eight times "MASON " TRADE
  word name spelled on "petitioners 's" formal complaint dated: " 10.10.23 "; Presenting
  Question? Under Uniform Commerc ial Code might this be violations of Infringements?

   "MATHILDA NOILAN I MASON" ©™: Resident of WASHINGTON D.C.; decedent;
   LEGAL FICTION; CORPORATION; SECURITY; TRUST; PROPERTY OF UNITED
   STATES; U.S, CITIZEN; HAWAIIAN NATIONAL as Coequal Soveran; words on
   paper;

   "Ranchos": "Hawaiian Ranchos Estates"; "Hawaiian Ocean View Ranchos"; "Hawaiian
   Ocean View Ranchos Estates"; "Ranchos Agricultural Community";

   "willful": "1 :obstinately and often perversely self-wille d      2 :done deliberately :

   INTENTIONAL""UNRULY""UNGOVERNABLE""INTRACTABLE""REFRACTORY
   ""RECALCITRANT""HEADSTRONG" [Merriam Webster]; "Proceeding from a
   conscious motion of the will, intending the result which actually conies to pass; designed;
   intentional; malicious.A willful differs essentially from a negligent act. The one is
   positive and the other negative. Intention is always separated from negligence by a
                                                            nd
   precise line of demarcation." [Black's Law Dictiona, y, 2 Ed. ]

   "WILLIAM MICHAE L GILROY": Resident of WASHINGTON D.C.; decedent;
   LEGAL FICTION; CORPORATION; SECURITY; TRUST; PROPERTY OF UNITED
   STATES; U.S. CITIZEN; words on paper;



                                                                                     4 of 31
   NOTICE OF REMOVAL AND REQUEST FOR INJUNCTIVE RELIEF h.l. william-m. :gilroy, Page
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                                                                   {



                                      Parties To Action

   1: "Robert Dale Triantos Esq.", 75-5751 Melelina St., Kailua-Kon a, Hawaii, 96740; P.O.
  Box 4247, Kailua Kona, Hawaii, 96745; 808-685-7117, Fax: 808-657-6338; Email:
  bob@triantoslaw.com: attorney for "People for words on paper: nonprofit HRRMC"

  2: "Roy Jay Thornton", P.O. Box 7007, 92-6008 Alii Dr.,Ocean View, Hawaii, 96737;
  DBA HRRMC, HRCA (fake copycat company), KGE/K.ON A GARDENS ESTATES,
  PACIFIC RIM MANAGEM ENT CORPORA TION, THORNBR OOK, JOANNE M LEE
  IRREVOCA BLE TRUST, Age 56 (Oct. 20 1965) royhrca@gmail.com,
  office@ranchos-roads.org, royhrrmc@ gmail.com, pacificrim4950@gmail.com,

  3: "Marcella Lynn Thornton", P.O. Box 7007, 92-6008 Alii Dr.,Ocean View, Hawaii,
  96737; DBA HRRMC

  4 : "Mats Adam Fogelvik", 92-8631 Jacarana Dr., Ocean View, Hawaii, 96737;
  808-280-8405; 808-280-8405; Board member for "People for words on paper:
  nonprofit HRRMC"
   5: "Maira Shalese Fogelvik", 92-8631 Jacarana Dr., Ocean View, Hawaii, 96737;
   808-280-8405; 808-280-8405; Board member for "People for words on paper:
   nonprofit HRRMC"
   6: "Phillis M. May", P.O. Box 662 1, 92-8661 Jacaranda Dr., Ocean View, Hawaii, 96737,
   Board member for "People for words on paper: nonprofit HRRMC"

   7: "Roland Patrick Taylor", P.O. Box 7404, 92-1002 Kamaaina Blvd., Ocean View,
   Hawaii, 96737, Board member for "People for words on paper: nonprofit HRRMC"

   8: "David Harrison Lawton", Ste. 100, 75-5722 Kuakini Hwy., Kailua-Kon a, Hawaii,
   96740, attorney for "People for words on paper: nonprofit HRRMC"

   9: "Thomas Glenn Tyler", P.O. Box 7474, 92-8477 Bougainvillaea Dr., Ocean View,
   Hawaii, 96737, Board member for "People for words on paper: nonprofit HRRMC"
   10: "Gabriel Lynn Hcchler", P.O. Box 887, Captain Cook, Hawaii, 96704, 92-1158
   Maikai Blvd., Ocean View, Hawaii, Board member for "People for words on paper:
   nonprofit HRRMC"
   11: "Cmtis John Holyk", 34710 NE 9151 Ave., La Center, Washington, 98629, Board
   member for "People for words on paper: nonprofit HRRMC"
   12: "Christopher Arthur Pinnow", 1199 Tamarack Ave., Carlsbad, California,
   92008-3418 , 92-913 Hokulani Blvd., Ocean View, Hawaii, 96737, Board member for
   "People for words on paper: nonprofit HRRMC"

   13: "Sandra Shelton", "Hawaiian Ranchos Community Association" parent corporation to
   nonprofit "HAWAIIA N RANCHOS ROAD MAINTEN ANCE CORPORA TION, a
   Hawaii nonprofit corporation", c/o P.O. Box 6062, Ocean View, Hawaii, 96737;

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                  Rule 20: Proposed Parties to Joinder For Petitioner(s)

    Respondent(s) join the following 7 people as Petitioner(s) and assert that "claims"
   by "Petitioners" are "arising out of the same transaction" and "any question of law
                                or fact common to all parties"

  14: "Peter Eric Bosted", P.O. Box 6254, 92-843 Alii Blvd., Ocean View, Hawaii,
  96737,Board member for "People for words on paper: nonprofit HRRMC"

  15: "MICHAEL GERBO ESTATE/Trisha Clifford Gerbo", P.O. Box 7297, 92-8695
  Jacaranda Dr., Ocean View, Hawaii, 96737, Board member for "People for: nonprofit
  HRRMC''

   16:"Paul Martin Scott", P.O. Box 7534, 92-1281 Hokulani Blvd., Ocean View, Hawaii,
   96737, Board member for "People for words on paper: nonprofit HRRMC"

   17: "Rene Hermann Heimgarlner Esq.", P.O. Box 1839, Kailua-Kona, Hawaii, 96745,
   contracted attorney by "People for words on paper: nonprofit HRRMC"

   18: "Peter Kenj i Kubota Esq.", c/o Hale Kaulike, 777 Kilauea A venue, Hilo, Hawaii,
   96720-42 12;

   19: "Jeffrey A. Hawk Esq."

   20: "Henry T. Nakamoto Esq."

   (Rule 20: Permissive Joinder of Parties: (a)(2)(A) any right to relief; (B) any question of
   law or fact)




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                  Rule 20: Proposed Parties to Joinder For Respondent(s)

  Respondent(s) join the following 3 people as Respondent(s) and assert that "claims"
  by "Petitioners" are "arising out of the same transaction" and "any question of law
                                or fact common to all parties"

  1: "Leslie Kobata", DLNR Bureau Of Conveyances, 1151 Punchbowl St., Ste. 120,
  Honolulu, Hawaii, 96813; Respondent;

  2: "Meleana Smith" NOTARY, Kau Business Services, 92-8691 Lotus Blossom Ln. ,
   Ocean View, Hawaii, 96737; Kl3S96737@ gmail.com; Respondent;

   3: "Erin G. Santos" NOTARY, CU Hawaii Federal Credit Union, 95-5664 Mamalahoa
   Highway, Naalehu, Hawaii, 96772; Respondent;

   (Rule 20: Permissive Joinder of Paities: (a)(2)(A) any right to relief; (B) any question of
   law or fact)




    NOTICE OF REMOVAL AND REQUEST FOR INJUNCTIVE RELIEF h.l. william- m. :gilroy, Page 7 of 31
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                    (                              (



                     NOTICE OF REMOVA L PURSUAN T RULE 3
                                  Commenci ng an Action

             1: Allegation By Petitioner Of "NONCON SENSUAL " "LIENS"

  For is "Bob" not willfully and knowingly alleging that people who are not attorneys have
  no right to "LIEN" personal or private property using process identical to the "LIEN"
  process used by "Bob'?

  If this is true and con-ect, Why does the STATE OF HAWAll BUREAU OF
   CONVEYA NCES allow people who are not attorneys to LIEN prope1ty?

   And Why is STATE OF HA WAH BUREAU OF CONVEYANCES not a respondent to
   this "PETITION" by "Bob" for any legal breach?

   Why is not any Notary a respondent to this "PETITION " by "Bob", for any legal breach?

   For why and for by what lawful authority did "Bob" (non-attorney factions of "Bob"
   including "Roy Jay Thornton", "Marcella Lynn Thornton", "Mats Adam Fogelvik",
   Phillis M. May" and others) willfully and knowingly administrate 250 non-consensual
   LIENS from 2003 through 2023?




    NOTICE OF REMOVAL AND REQUEST FOR INJ UNCTIVE RELIEF h.l. william-m. :gilroy, Page 8 of 31
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      2: Allegation By Petitioner Of "FRIVOLOUS FINANCING STATEMENTS"

   For "Bob" is aware as follows;

   1: For "billy" and "noilani" (and others, as the record shows) initiated CLAIMS for
   DAMAG ES upon "Bob" beginning on or about Novembe r 2 1, 2020 and continuou sly
   thereafter.

   2: For shmtly after "billy" and "noilani" formally requested an audit and examinati on of
   "Bob" (3/27/2022), "billy" and "noilani" received a two page death threat letter worded
   with terminology frequently used by "Bob" (4/12/2022, 16 days after request for audit).

   3: For even "Bob" willfully and knowingly confesses publicly by email to hundreds of
   "Ranchos" property owners on or about 4/25/2022 (13 days thereafter), by three page
    "Information Letter" that "billy" and "noilani" has sent "Bob" over 250 letters.

                                 Box full of letters sent to
                                 HRRMC by Mason/Gi lroy
                                 over 250 letters in one year




     photo from "Bob" 4/25/202 2: 3 page email to hundreds of "Ranchos " property owners

    all over the world. A family friend in San Diego California receive d t his ema il and photos.




    4: From 4/25/2022 to present, "billy" and "noilani" have sent or repo1ted to "Bob" close
    to 400 additional document s filed in at least 6 couit actions with possibly 5000 pages.

    5: For that is 600 documents, 5000 pages, over a period of l 095 days.



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   6: For "Bob" willfully and knowingly never challenged, rebutted, refuted, denied, or
   question ed a single CHARGE. "Bob" is defaulted and ban-ed by !aches.

   7; For under the Maxim that an unrebutted affidavit of CLAIM stands as truth in
   COMME RCE. "Bob" is defaulted and barred by laches.

   8: For also under the Doctrine of Laches, the same rule applies. '' Equity aids the vigilant"
   - not those who sleep on their rights. Put another way, failure to assert one's rights in a
    timely manner results in a claim being barred by !aches. "Bob" is defaulted and barred
    long ago from any relief.

    For there is no possible excuse for these non-professional recidivist acts, and upon this
                                                                                            all
    basis alone this matter must be sanctioned for vexatious litigation , and stricken from
    records.

    For any failure of the Comt to sanction, and strike the "PETITION" constitutes a
    conspiracy and collusion of the Comt which may be operating exploitation of a legal
    justice minority group by BAR closed union shop comt with acts of apartheid.




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                         (



                                     Cause For Removal



   For STATE OF HAWAIi THIRD CIRCUIT COURT public servants (supra) "Officers of
   the Comt" have ignored and violated and invalidated Natural Laws, State Laws, Federal
   Laws, International Laws, Acts, Rules, Codes, Statutes, Commercial Laws:

   Therefore all acts, actions, Judgments and Orders of this Court are VOID.
    "The judgments were based on orders which were void because the court
    exceeded its jurisdiction in entering them, For the power of judges to act outside
    of their jurisdiction such proceedings would be void, and actionable.

    In [Wise v. Withers, 7 U.S. (3 Cranch)331(1806)],the Supreme Court confirmed the
   right to sue a judge for exercising authority beyond the jurisdiction authorized by
   statute.

    "When a judge knows that he lacks jurisdiction, or acts in the face of clearly valid
    Constitutional provisions or valid statutes expressly depriving him of jurisdiction or
    judicial capacity, judicial immunity is lost." --[Rankin v. Howard 633 F.2d 844 (1980),
    Den Zeller v. Rankin, 101 S.Ct. 2020 (1981)

    nor be deprived or life, liberty or property.without due process of law; ... Article V,
    National Constitution.

    "A judgment can be void ... where the court acts in a manner contrary to due process."
    THEREFORE; this court must pe1form its duty under the Rule of Law, do Justice,
    [Rectum Rogare], and DISMISS WITH PREJUDICE [OR REVERSE] the above-
    captioned case without delay for "Justice delayed is Justice denied."[Rectum
                                                                                           th
    Rogare]-"to do right; to petition the judge to do right."-- Black's Law Dictionary 4
    edition.

                         STATE CIRCUIT court has no jurisdiction,
                      STATE CIRCUIT Court NEVER had jurisdiction

    49 CFR § 1570. 5 - Fraud and intention al falsificat ion of r ecords. § 1570.5
    Fraud and intentional falsification of 1·ecords. No person may make, cause to be
    made, attempt, or cause to attempt any of the following :



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   (a) Any fraudulent or intentionally false statement in any record or repm1 that is kept,
   made, or used to show complianc e with the subchapte r, or exercise any privileges under
   this subchapter.

   (b) Any reproduction or alteration, for fraudulen t purpose, of any record, report, security
   program, access medium, or identification medium issued under this subchapter or
   pursuant to standards in this subchapter.
   18 U.S. Code § 876 - Mailing tlu-eatening communications
   18 U.S . Code§ 241 - Conspiracy against rights
   If two or more persons conspire to injure, oppress, threaten, or intimidate any
   person in any State, Territory, Commonw ealth, Possessio n, or District in the free
   exercise or enjoyment of any right or privilege secured to him by the Constitution or
   laws of the United States, or because of his having so exercised the same; or

   If two or more persons go in disguise on the highway, or on the premises of another, with
   intent to prevent or hinder his free exercise or enjoymen t of any right or privilege so
   secured - They shall be fined under this title or imprisoned not more than ten years, or
   both; and if death results from the acts committe d in violation of this section or if such
   acts include kidnapping or an attempt to kidnap, aggravated sexual abuse or an attempt to
   commit aggravated sexual abuse, or an attempt to kill, they shall be fined under this title
   or imp1isone d for any term of years or for life, or both, or may be sentenced to death.
   18 U.S. Code§ 242 - Deprivation of rights under color of law
    18 U.S. Code § 245 - Federally protected activities
    18 U.S. Code § 653 - Disbursin g officer misusing public funds
   28 U.S. Code § 951 - Oath of office of clerks and deputies Each clerk of court and his
    deputies shall take the following oath or affirmatio n before entering upon their duties: "I,
    _ _, having been appointed _ , do solemnly swear (or affirm) that I w ill t.-uly and
    faithfully enter and r·ecord all orders, decrees, judgments and proceedings of such
    court, and will faithfully and impartiall y discharge all other duties of my office according
    to the best of my abilities and understanding. So help me God."
    28 U.S. Code§ 953 - Administration of oaths and acknowle dgments, Each clerk of comt
    and his deputies may administe r oaths and affumatio ns and take acknowledgments.
    28 U.S. Code § 95 5 - Practice of law restricted, The clerk of each comt and his deputies
    and assistants shall not practice law in any comt of the United States.
    28 U.S . Code § 958 - Persons ineligible as receivers
    28 U.S. Code§ 959 - Trustees and receivers suable; managem ent; State laws
    28 U.S. Code§ 960 - Tax liability
     12 U.S. Code § 582 - Receipt of United States or bank notes as collateral
     12 U.S. Code § 2614 - Jurisdictio n of comi s; limitation s
     18 U.S. Code§ 641 - Public money, property or records
     18 U.S. Code§ 643 - Accounting generally for public money
     18 U.S. Code § 645 - Court officers generally
     18 U.S. Code§ 648 - Custodians, generally, misusing public funds
     18 U.S. Code § 649 - Custodian s failing to deposit moneys; persons affected
     18 U.S. Code § 650 - Depositaries failing to safeguard deposits
     18 U.S. Code § 652 - Disbursing officer paying lesser in lieu oflawful amount

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   18 U.S. Code § 654 - Officer or employee of United States converting property of
   another
   18 U.S. Code § 656 -Theft, embezzle ment, or misapplication by bank officer or
   employee
   18 U.S. Code § 660 - Canier's funds derived from commerce; State prosecutio ns
   18 U.S . Code§ 666 - Theft or bribery concernin g programs receiving Federal funds
   18 U.S. Code§ 872- Extortion by officers or employees of the United States
   18 U.S. Code § 873 - Blackmail
   18 U.S. Code § 875 - Interstate communications
   18 U.S. Code § 876 - Mailing threatening communi cations
   18 U.S. Code§ 877 - Mailing threatening communications from foreign country
   18 U.S . Code § 878 - Threats and extmtion against foreign officials, official guests, or
   internationally protected persons
   18 U.S. Code§ 880 - Receiving the proceeds of extortion
    18 U.S. Code§ 891 - Definition s and rules of construction
    18 U.S. Code§ 892- Making extortionate extension s of credit
    18 U.S. Code § 893 - Financing ext01tionate extension s of credit
    18 U.S. Code § 894 - Collection of extensions of credit by exto1tiona te means
    18 U.S. Code§ 91 2 - Officer or employee of the United States
    18 U.S. Code§ 913 - Imperson ator making arrest or search
    18 U.S. Code§ 914- Creditors of the United States
    18 U.S. Code § 9 15 - Foreign diplomats, consul s or officers
    18 U.S. Code§ 1001 - Statemen ts or entries generally
    18 U.S. Code § 1002 - Possessio n of fal se papers to defraud United States
    18 U.S. Code § 1003 - Demands against the United States
    18 U.S. Code§ 101 5 - Naturaliz ation, citizenship or alien registry
    18 U.S. Code § 101 6 - Acknowledgment of appearanc e or oath
    18 U.S. Code§ 101 7 - Government seals wrongfully used and instruments wrongfully
    sealed
    18 U.S. Code§ 101 8 - Official ce1tificates or writings
    18 U.S. Code § 1021 - Title records
    18 U.S. Code§ 1028 - Fraud and related activity in connectio n with identification
    documents, authentica tion features, and information
    18 U.S. Code § l 03 1 - Major fraud against the United States
    18 U.S. Code§ 1036 - Ent1y by false pretenses to any real property, vessel, or aircraft of
    the United States or secure area of any airport or seapo1t
    18 U.S. Code§ 1038 - False informatio n and hoaxes
     18 U.S. Code§ 1341 - Frauds and swindles
     18 U.S. Code§ 1346 - Definition of "scheme or artifice to defraud"
    18 U.S. Code§ 1349 - Attempt and conspiracy
     18 U.S. Code § 1350 - Failure of corporate officers to certify financial repo1t s
     18 U.S. Code§ 1505 - Obstruction of proceedings before depa1tmen ts, agencies, and
    committe es
     18 U.S. Code § 1506 - Theft or alteration ofrecord or process; false bail
     18 U.S. Code § 1512 -Tampering with a w itness, victim, or an informant
     18 U.S. Code § 1513 - Retaliating against a witness, victim, or an informant

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   18 U.S. Code§ 1595 -Civil remedy
   18 U.S. Code § 1621 - Pe1jury generally
   18 U.S. Code§ 1622 - Subornation of pe1jury
   18 U.S. Code § 1623 - False declarations before grand j ury or court
   18 U.S. Code § 1658 - Plunder of distressed vessel
   18 U.S. Code§ 9 - Vessel of the United States defined
   18 U.S. Code§ 1661 - Robbery ashore
   18 U.S. Code§ 1652 - Citizens as pirates
   18 U.S. Code§ 1654 - Arming or serving on privateers
   18 U.S. Code § 1701 - Obstruction of mails generally
   18 U.S. Code § 1702 - Obstruction of correspon dence
   18 U.S. Code § 1901 - Collecting or disbursing officer trading in public property
   18 U.S. Code§ 1910 - Nepotism in appointment ofreceivc r or trnstee
   18 U.S. Code § 1911 - Receiver mismanaging prope1ty
   18 U.S. Code § 1923 - Fraudulent receipt of payments of missing persons
   18 U.S. Code Chapter 95 - RACKET EERING
   18 U.S. Code § 1951 - Interference with commerce by threats or violence
    18 U.S. Code § 1952 - Interstate and foreign travel or transpo1tation in aid of racketeering
   enterprises
    18 U.S. Code§ 1956 - Laundering of monetary instruments
    18 U.S. Code § 1957 - Engaging in monetary transactions in property derived from
    specified unlawful activity
    18 U.S. Code § 1959 - Violent crimes in aid of racketeering activity
    18 U.S. Code § 1961 - Definitions
    18 U.S. Code § 1962 - Prohibited activities
    18 U.S. Code § 1963 - Criminal penalties
    18 U.S. Code§ 1964 - Civil remedies
    18 U.S. Code§ 1965 - Venue and process
    18 U.S. Code§ 1966 - Expedition of actions
    18 U.S. Code§ 1967 - Evidence
    18 U.S. Code § 1968 - Civil investigative demand
     18 U.S. Code§ 2073 - False entries and rep01ts of moneys or securities
     18 U.S. Code§ 2075 - Officer failing to make returns or rep01ts
     18 U.S. Code § 2340 - Definitions
     18 U.S. Code§ 2381 -Treason
     18 U.S. Code § 2382 - Misprision of treason
     18 U.S. Code§ 2384 - Seditious conspiracy
     18 U.S. Code § 2385 - Advocating overthrow of Government
     18 U.S. Code§ 2441 - War crimes

     ► For any nonprofit road maintena nce corporati on in Hawaii may not lawfully
                                                                                       act in

    any capacity as a plaintiff, as "the people of the nonprofit " are mandated to be the

    benevole nt group of volunteer s whose sole purpose is to offer some benefit to the

    communi ty.


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                                                                                     ty, standin g
   Therefo re "People for: nonpro fit HRRMC" have no lawful nor legal authori

   or jurisdic tion to initiate any court action:

                                                                                fit HRRMC"
   Below are 69 valid and unchall enged reasons why "people for: nonpro
                                                                              ary membe r" of the
   cannot initiate any legal court sanctio ned action against any "volunt
                                                                              CORPORATION, a
   nonpro fit corpora tion: "HAWAIIAN RANCHOS ROAD MAINTENANCE

   Hawaii nonpro fit corpora tion":

                                                                                     IIAN
    1: to act withou t the oversight of the mother corpora tion HRCA (HAWA
    RANCHOS COMMUNITY CORPORATION).
                                                                                    COUNSEL.
    2:     to act withou t the oversight of COUNTY OF HAWAI I CORPORATION
                                                                                       TMENT.
    3:     to act withou t the oversight of COUNTY OF HAWAI I PLANNING DEPAR
                                                                          .
    4:     to act withou t the oversight of COUNTY OF HAWAI I PUBLIC WORKS
                                                                            L.
    5:     to act withou t the oversight of STATE OF HAWAI I ATTORNEY GENERA
                                                                                    TMENT OF
    6: to act withou t the regulat ory oversight of STATE OF HAWAI I DEPAR
    COMMERCE AND CONSUMER AFFAIRS.

    7:     to manda te or require tax (assessment) upon a "volunt ary membe rship".
                                                                                               defame
    8: to oppress, stalk, terroriz e, harass, threate n, flip-off , yell at, slander, libel,
    upon a "volunt ary membe rship".
                                                                                    a "volunt ary
    9:     to repeate dly refuse mail and refuse volunta ry contributions from
    membe rship".
                                                                                    ry
     10: to manda te or require tax (assessment) upon a non-co ntractu al " volunta
                                                                         ts not held in
     membe rship" as doing so is "SLAVERY" forced complia nce to contrac
                                                                         ution.
     commo n in violatio n of the 13 Amend ment of the Americ an Constit
                                    th


                                                                                     membe rship".
     11:     to "SLANDER OF TITLE" lien over 160 propert ies upon a "volun tary
                                                                                       n of
     12:  upon a non-co ntractu al "volun tary membe rship" as doing so is in violatio
                                                                           of propert y".
     "STATUTE OF FRAUDS" doctrin e regardi ng the non-co ntractu al "sale
                                                                                               as so
     13:  to manda te or require tax (assessment) upon a "volunt ary membe rship"
     doing is "inappr opriate ". (Supreme Court)
                                                                                               as so
     14:  to manda te or require tax (assessment) upon a "volun tary membe rship"
     doing is "innate ly unfair" . (Supreme Court)



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   15:    to mandate or require tax (assessment) upon a "voluntary membership" as so
   doing is "ultra vires" . (Supreme Court)

   16:     to initiate false billing obligation(s).

   17:     to initiate over billing obligatio n(s).
                                                                                              or
   18:  to initiate billing of fees, penalties, charges, ad min fees, adminis trative fees,
   any other alleged obligation(s).

    19: to Foreclose on real property wherein Plaintiff is not a named party on the
    PROPERTY DEED.

    20:     to initiate Court action.

    21:     to initiate Court action against "volunta ry membership"

    22:to initiate Court action against "volunta ry membership" using "voluntary
    membership" monies.

    23: to initiate Court action against "volunta ry membership" using "volunta ry
    membership" monies to contract with of hire attorney(s).

    24:  to initiate Court action against "volunta ry membership" without total "Board"
                                                                             to contract
    knowledge, consent and approval, using "volunta ry membership" monies
    with of hire attorney(s).

    25: to initiate Court action against "volunta ry membership" without total
                                                                               ship"
    "membership" knowledge, consent and approval, using "volunta ry member
    monies to contract with of hire attorney(s).

    26: to initiate legal court action because the elected "Board" and "volunta ry
                                                                                       ship"
    member ship" are acting in the private, making all interests of "volunta ry member
    private.

     27:   to initiate legal court action against "volunta ry member ship". It is only the
                                                                                        MENT OF
     "Board" who is public and "REGISTERED" with the "STATE OF HAWAII DEPART
     COMMERCE AND CONSUMER AFFAIRS" as a "NONPROFIT CORPORATION"

     28:   to initiate legal court action against "volunta ry member ship". It is only the
     "Board" who is subject to oversight by governm ent

     29: to initiate legal court action against "volunta ry member ship" for there is
                                                                                      no

     contract between "volunta ry member ship" and " people for: nonprof   it HRRMC"

     30:   to initiate legal court action against "volunta ry member ship" for there is no
                                                                                           it
     foundat ion agreeme nt between "volunta ry member ship" and "people for: nonprof
     HRRMC"

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   31:   to initiate legal court action against "voluntary membershi p" for there are no
   written terms between "voluntary membershi p" and "people for: nonprofit HRRMC"

   32:   to initiate legal court action against "voluntary membershi p" for there are no
   written conditions between "voluntary membershi p" and "people for: nonprofit
   HRRMC"

   33:   to initiate legal court action against "voluntary membershi p" for there are no
   written limitations between "voluntary membershi p" and "people for: nonprofit
   HRRMC"

   34:  to initiate legal court action against "voluntary membershi p" for there are no
   written liabilities between "voluntary membershi p" and "people for: nonprofit HRRMC"

   35:   to initiate legal court action against "voluntary membershi p". It is only the
    "Board" who is subject to oversight by IRS

    36:   to initiate legal court action against "voluntary membershi p" For it is the
    "voluntary membership" who is the "LENDER" and "CREDITOR" who pays money to
    the "RECEIVER" and "DEBTOR" "people for: nonprofit HRRMC".

    37: to initiate legal court action against "voluntary membershi p". For "people for:
    nonprofit HRRMC" does not borrow money with interest that must be repaid by
    "voluntary membershi p".

    38:    to initiate legal court action against "voluntary membershi p" For there is no
    written contract, no written foundation agreement, no written liabilities, no written
    limitations, no written terms, no written conditions, pursuant "Clearfield Doctrine",
    "Statute of Frauds Doctrine", "Contract Law", etc. but only by artifice and deceptive trick
    have the "people for: nonprofit HRRMC" acted.

    39:   to initiate legal court action against "voluntary membershi p" hire the attorney to
    sue "voluntary membershi p", that is criminal breach of trust.

    40:  to initiate legal court action against "voluntary membershi p" hire the attorney to
    sue "voluntary membershi p", that is criminal breach of fiduciary duty.

    41:  to initiate legal court action against "voluntary membershi p" hire the attorney to
    sue "voluntary membershi p", that is criminal misappropriation of dedicated trust
    monies, which is money collected by "people for: nonprofit HRRMC" from "voluntary
    membershi p" for the sole and single purpose to maintain the private roadway.

    42:   to initiate legal court action against "voluntary membershi p" hire the attorney to
    sue "voluntary membershi p", that is criminal senior abuse, as most "voluntary
    membershi p" are seniors.



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   43: to initiate legal court action against "voluntar y membership" hire the attorney to
   sue "voluntar y membership", that is professional negligence and malpractice, on behalf
   of any attorney who would knowingly and willfully participate in such criminal action.

   44:    to initiate legal court action against "voluntar y membership" hire the attorney to
   sue "voluntar y membership", that is obstruction of justice and constructive fraud, on
   behalf of any court clerk and judge who would knowingly participate in such criminal
   action.

   45:    to initiate legal court action against "voluntar y membership" hire the attorney to
   sue "voluntar y membership", that is criminal conspiracy to defraud, on behalf of any
   attorney, court clerk and judge who would participate in such criminal action.

   46:    to initiate legal court action against "voluntar y membership" hire the attorney to
   sue "voluntar y membership", that is criminal senior abuse and financing extortion ate
   lines of credit, on behalf of any attorney, court clerk and judge who would participat e in
    such criminal action .

    47: to initiate legal court action against "voluntar y membership" hire the attorney to
    sue "voluntar y membership", that is habitual property crime, on behalf of any attorney,
    court clerk and judge who would participate in such criminal action.

    48:    to initiate legal court action against "voluntar y membership" hire the attorney to
    sue "voluntar y membership", that is criminal conspiracy to defraud, on behalf of any
    attorney, court clerk and judge who would participate in such criminal action.

    49:  to initiate legal court action against "voluntar y membersh ip" hire the attorney to
    sue "voluntar y membership", that is Racketeering R.I.C.O., on behalf of any attorney,
    court clerk and judge who would participat e in such criminal action .

    50:    to initiate legal court action against "voluntar y membership" hire the attorney to
    sue "voluntar y membership", with unsigned hearsay complaint, on behalf of any
    attorney, court clerk and judge who would participate in such criminal action.

    51:  to initiate legal court action against "voluntar y membership" hire the attorney to
    sue "voluntar y membership", that any court would render Judgement and/or Order on
    behalf of any attorney, court clerk and judge who would participate in such criminal
    action.

    52: to initiate legal court action against "voluntar y membership" hire the attorney to
    sue "voluntary membership", that is making clearly False Claims and False Billing on
    behalf of any attorney, court clerk and judge who would participate in such criminal
     action.

     53: to initiate legal court action against "voluntar y membership" hire the attorney to
     sue "voluntar y membership", that had clearly ignored and dishonored all defensive

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   documents, evidence and testimon y to the benefit of any attorney, court clerk and
   judge who would participat e in such criminal action.

   54: to initiate legal court action against "voluntar y members hip" hire the attorney to
   sue "voluntar y members hip", that is making clearly large incomes which are not
   reported as such becoming Tax Fraud on Unreport ed Income on behalf of any attorney,
   court clerk and judge who would participat e in such criminal action.

   55: to initiate legal court action against "voluntar y members hip" hire the attorney to
   sue "voluntar y members hip", that is by not mailing statements to correct addresses but
   rather knowingly and willfully mailing statemen ts to addresses not used for decades or
   mailing statemen ts to addresses for which "voluntary membership" never used, on
    behalf of any attorney, court clerk and judge w ho would participat e in such criminal
    action.

    56: to initiate legal court action against "voluntar y members hip" hire the attorney to
    sue "voluntar y members hip", that is initiating vexatious litigation with court action
    results in benefit of any attorney, court clerk and judge who would participat e in such
    criminal action.

    57:   to fail to utilize "Debt Collection" companies for the obvious reason that: For isn't
    it true that no real debt collector can effect collection as alleged debt is
    non-contractual and noncollectable?

    58:    to initiate legal court action against "voluntar y members hip" and
    "non-mem bership" to hire the attorney to sue "voluntar y members hip" and
    "non-mem bership", that is initiating vexatious litigation against people whose property
    has a private easemen t abutting State Highway 11 and not abutting any private road.

    59:    to initiate legal court action against "voluntar y members hip" and
    " non-mem bership" to hire the attorney to sue "voluntar y members hip" and
    "non-mem bership" when "People for: nonprofit HRRMC" have no "CONTRACT" with the
    road owners of "Increme nt 1" (west side, highway to bottom of "Ranchos")- "KBSF LAND
    CO INC", resulting in trespass by "people for: nonprofit HRRMC".

    60: to initiate legal court action against "voluntar y members hip" and
    "non-mem bership" to hire the attorney to sue "voluntar y members hip" and
    "non-mem bership" when "People for: nonprofit HRRMC" have no "CONTRACT" with the
    road owners of "Increme nt 2" (center section, Maile Rd. to bottom of "Ranchos')- " US
    TRUST", "GRAYCO LAND ESCROW LTD", resulting in trespass by "people for: nonprofit
     HRRMC".

     61: to initiate legal court action against "voluntar y membership" and
     "non-mem bership" to hire the attorney to sue "voluntar y membership" and
     "non-mem bership" when "People for: nonprofit HRRMC" have no "CONTRACT" with the

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   road owners of "Increme nt 3" (east side, highway to bottom of "Ranchos")- "GRAYCO
   LAND ESCROW LTD", "WELLS FARGO REALTY SERVICES", resulting in trespass by "people
   for: nonprofit HRRMC".

   62:  to independ ently operate an permitted or unpermit ted base yard, for so doing
   exceeds authority and purpose.

   63:  to independ ently purchase equipmen t, and materials, for so doing exceeds
   authority and purpose.

   64:    to independ ently hire employees, for so doing exceeds authority and purpose.

    65:   to build structures and buy land, for so doing exceeds authority and purpose.

    66:    to engage in actions of "MORAL HAZARD" ( a situation in which one party engages
    in risky behavior or fails to act in good faith because it knows the other party bears the
    economic consequences of their behavior).

    67:  to commit actions with revenge and retaliation (example: false bill ing against
    native Hawaiian great grandmot her: $4,664.47 in alleged "Road Damage" from tiny
    1988 Corolla, $5,087.77 for alleged squatting, and other false Charges totaling over
    $12,600.0 0 not including vexatious attorneys fees).

    68:  to foreclose on private property on the basis of a "DUTY", when a "DUTY" is
    defined as "INACTIONABLE MORAL OBLIGATION", convertin g a moral obligation to
    extortion by threat;

    69:  to operate "CONVERSION", that is "a civil wrong (tort) in which one converts
    another's property to his/her own use, which is a fancy way of saying "stea ls."




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                REQUEST FOR INJUNCTIVE RELIEF PURSUANT RULE 65(b)
                             Injunctio ns and Restraini ng Orde1·s

   For the specific facts demonstrate a long pattern and continuous and immediate
   inepairable injury, loss, and damage as efforts already made by "Re8pondents" are made
   ineffective.

   For Death Threats, Threats, Bulling, Property Lockouts, Harassment, Stalking, Chasing,
   Obsurdly Faraudulent Billing and Claims, Slander and Libel, Defamation, Vexatious
   Litigation Repeatedly Over and Over, Physical Threatsand Assault, Financial Abuse and
   Ext01tion, Self-enrichment, Tax Fraud on unrepo1ted income from Embezzlement's,
   Senior Abuse, and more from November 2020 to present.

    For the Court must GRANT PERMANENT INJUNCTION which is warranted as there is
    no remedy at law that can fully compensate the wronged senior parties for the injuries
    inflicted and in addition the wronged seniors has shown that the balance of hardships
    weighs in its favor and that the issuance of the injunction would not harm the public
    interest.




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                 FOR WILLFU LL AND KNOWIN G IDENTIT Y THEFT and

                 FOR WILLFU L AND KNOWIN G INVASIO N OF PRIVAC Y

   For "Bob" willfully and knowingly placed upon the public record and into the
                            '
   "PETITION" highly personal and confidential protected information.

   Did "Bob" willfully and knowingly not commit this act in another attempt to inflict injury,
   harm, damage and loss upon the two seniors: "billy" and "noilani"?

   By the way, "noilani" was born at Waipio Valley, is a mother of six children,
    Grandmother to 19 Children, and Great-Grandmother to seven.

    "noilani" is a College Graduate, former nurse, schooltea cher, hula instructor, accountan t,
    business manager, chef, and highly skilled in many aits, to name a few.

      For "Bob" has been terrorizing "noilani" for over 1000 days almost continually,
          either physically by the use of force and terrorism, various deprivations,
         malicious and vexatious litigation's, verbal and physical insults. threats and
                death threats, antagonization's, slander's, defamation's, libel's

    For "noilani" is only looking for best for all the neighbors and "noilani" generosity is
    legendary.

    "noilani" knows almost eve1yone, even on all the Islands "noilani" has family and friends.
    Few people are more well know and loved.

    "noiJani" is a descendant of several well known former rulers in "Hawaii".

    For "Bob" committed several FEDERA L LAW violations by publicly exposing U.S.
    PASSPOR T, BIRTH CERTIFICATE, BANK INFORMATION, and COMME RCIAL
    DOCUM ENTATIO N which the abuse of cany's fines up to $500,000.00 each.




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              INVASION OF PRIVACY AND IND ENTITY THEFT DAMAGE S:

   No wonder two Judges recused themselves to avoid a potentially large liability.

   For there is no possible excuse for these non-professional recidivist acts, and upon this
   basis alone this matter must be sanctioned for vexatious litigation, and stricken from all
   records.

   For any failure of the Comt to sanction, and strike the "PETITION" constitutes a
   conspiracy and collusion of the Cou11 which may be operating exploitation of a legal
   justice minority group by BAR closed union shop court with acts of apartheid.




       Failure At Prior Notice Of Charges, Interest, Obligation , Default, Or Pending
                                            Lawsuit

    For in typically unethical and consistent repetition, and dishonest acts of ambush
    terrorism, "Bob" failed DUE PROCESS and EQUAL PROTECTI ON RIGHTS by
    running off straight to Court with a COMPLAIN T in VIOLATION of the federal FAIR
    DEBT COLLECTI ON ACT.

    For "Bob" failed to provide "billy" and "noilani" any notice of interest related to any
    allegation, therefore denying "billy" and "noilani" any right to challenge or question the
    allegation(s).

    For "Bob" failed to provide "billy" and "noilani" any notice of obligation related to any
    allegation, therefore denying "billy" and "noilani" any right to challenge or question the
    allegation(s).

    For "Bob" failed to provide "billy',' and "noilani" any notice of default related to any
    allegation, therefore denying "billy" and "noilani" any right to challenge or question the
    allegation(s).



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   For "Bob" failed to provide "billy" and "noilani" any notice of pending lawsuit related
   to any allegation, therefore denying "billy" and "noilani" any right to challenge or
   question the allegation(s).

   For "Bob" failed to pursue regular debt collection process through a competent debt
   collection agency- because no debt collection agency can collect any alleged debt without
   a contract. Attorneys and Judges know that.




                                              Fee Schedule

                                                                                         S
   The AUTHORITY FOR FINES (DAMAGES) CAUSED BY CRIMES BY GOVERNMENT OFFICERS: PERPETRATOR

    INCLUDING AUTHORIZING BODIES, CAPTAINS, CHIEFS, SUPERVISORS, EMPLOYERS, AGENTS, CLERKS,

    ADMIN ISTRATORS . , These Damages, in part, were determined by GOVERNMENT itself for the violation

    listed:, Breach Penalty Authority


    VIOLATION OF OATH OF OFFICE $250,000.001 8 USC 3571, 28 USC 3002(15), ARMED ABUSE OF OFFICE

    $200,000.00, ARMED ABUSE OF AUTHORITY $200,000.00, ARMED USE OF EMERGENCY LIGHTING IN A

    NON- EMERGENCY $200,000.00, ARMED USE OF EMERGENCY SIREN IN A NON-EMERGENCY $200,000.00,

    ARMED ASSAULT AND BATTERY $200,000.00, ARMED THREAT OF VIOLENCE $200,000.00, ARMED

    COERCION $200,000.00, DENIED PROPER WARRANT($) $250,000.001 8 USC 3571, DENIED RIGHT OF

    REASONABLE DEFENSE ARGUMENTS $250,000.001 8 USC 3571, DEFENSE EVIDENCE (RECORDS)

    $250,000.001 8 USC 3571, DENIED RIGHT TO TRUTH IN EVIDENCE $250,000.001 8 USC 3571, ARMED

    VIOLATION OF DUE PROCESS $200,000.00. SLAVERY (Forced Compliance to contracts not held)

    $250,000.00 18 USC 3571, DENIED PROVISIONS IN TH E CONSTITUTION $250,000.00 18 USC 3571, ARMED

    TREASON, WAR AGAINST AMERICANS $250,000.001 8 USC 3571, GENOCIDE AGAINST HUMANITY

    $1,000,000.0 018 USC 1091, APARTHEID $1,000,000.00 , ARMED DEPRIVATION OF RIGHTS UNDER COLOR

    OF LAW $200,000.001 8 USC 242, EMOTIONAL DISTRESS $200,000.003 2 CFR 536.77(a)(3)(v iil, MENTAL

    ANGUISH ABUSE $200,000.004 2 CFR 488.301, PEONAGE (Felony) $200,000.00 18 USC 1581, 42 USC 1994,

    UNLAWFUL INCARCERATION $200,000.00, MALICIOUS PROSECUTION $200,000.00, DEFAMATION OF

    CHARACTER $200,000.00, SLAN DER $200,000.00, LIBEL $200,000.00,A RMED TRESPASS $200,000.00,

    NEGLECT/FAILURE TO PROTECT/ACT $200,000.001 8 USC 1621, 42 USC 1986, ARMED GANG PRESSING

    $200,000.00, ARMED LAND PIRACY/PLUNDER $200,000.00, UNAUTHORIZED BOND, PRODUCTION

    $200,000.00, ARMED FORGERY $200,000.00, ARMED EMBEZZLEMENT $200,000.00, TAX EVASION$?,

    ARMED STALKING $200,000.00, ARMED IMPERSONATING A PUBLIC OFFICIAL $200,000.00, ACTING AS



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   AGENTS OF FOREIGN PRINCIPLES $200,000.001 8       use 219, ARMED TORTURE $200,000.00, ARMED
   OPERATING STATUTES WITHOUT BOND $200,000.00, EXPLOITATION OF A LEGAL JUSTICE MINORITY

   GROUP BY BAR CLOSED UNION SHOP COURTS- CIVIL RIGHTS $1,000,000.00 , BAR VIOLATION OF

   ANTI-TRUST LAWS $200,000.00, FICTICIOUS CONVEYANCE OF LANGUAGE $200,000.00 Chap. 2b 78FF,

   M ISAPPROPRIAT ION OF TAXPAYER FUNDS $200,000.001 8 USC 641-664, VIOLATIONS OF THE UNIVERSAL

   DECLARATION OF HUMAN RIGHTS, ARMED BREACH OF TRUST $200,000.00, ARMED DISTURBING THE

   PEACE $200,000.00, ARMED KIDNAPPING $200,000.00 18 USC 1201, ARMED

    MALFEASANCE/MALPRACTICE $200,000.00 22 CFR 13.3, ARMED MISREPRESENTATION/PERSONAGE

   $200,000.00, MISPRISON OF FELONY $500.00 18 USC 4, ARMED CONSPIRACY AGAINST RIGHTS OF PEOPLE

   $200,000.001 8 USC 241, ARMED CRIMINAL EXTORTION/ECONOMIC OPPRESSION $200,000.001 8 USC

    141,872, 25 CFR 11.417, ARMED EXTORTION OF RIGHTS $200,000.00 Title 15, ARMED ROBBERY

    $200,000.00, ARMED THEFT BY FORCED REGISTRATION $200,000.00, MAIL THREATS $5,000.0018 USC

    876, MAIL FRAUD $10,000.0018 USC 1341, ARMED FRAUD $10,000.0018 USC 1001, ARMED VIOLATION

    OF LIEBER CODE AGA INST NON -COMBATANTS $200,000.00, ARMED WRONGFUL ASSUMPTION OF

    STATUS/STANDING $200,000.00, ARMED FALSIFICATION OF DOCUMENTS /RECORD $10,000.0018 USC

    1001, 26 USC 7701(al(l). ARMED FICTITIOUS OBLIGATIONS $200,000.001 8 USC 514. ARMED PERJURY

    $2,000.0018 USC 1621. ARMED SUBORDINATION OF PERJURY $2,000.0018 USC 1622, ARMED

    RACKETEERING (Criminal, Felony) $200,000.001 8 USC 1961-1968, ARMED RACKEREERING (Civil)

    $200,000.00, Wages Taken $x3= 18 USC 1964 © (Sustained Damages [total] x3)To determine multiply no.

    of counts by damage, Eld er Abuse: multiply all damages by 2. The lien debtors will be responsible for any

    IRS obligations resulting from the discharge or cancell ation of any debts, as well as earned income

    resulting from accepted settlements.


    Dealing with claims of "Immunity". Any claim of "Immunity" is a fraud because, if valid, it would prevent

    removal from office for crimes against the people, which removal is authorized or mandated under U.S.

    Constitution Article 2, Section IV; as well as 18 USC 241, 42 USC 1983, 1985, 1986, and other state

    Constitutions . Precedents of Law established by Court cases, which are in violation of law, render

    violations of law legally unassailable. Such a situation violates several specifically stated intents and

    purposes of the Constitution set forth in the Preamble; to establish justice, insure domestic tranquility,

    and secure the blessings of liberty. For JUDGES, or anyone in any branch of government




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                        Rule 13 COMPULSORY COUNTERCLAIM



   For "people for: HRRMC" original authorized authority and purpose is to hire and pay

   professional road maintenance contractors with whatever funding is available.

   The original authority which was granted by and is mandated to be administrated by

    "The County of Hawaii Department of Finance" in co-operation with the "County of

    Hawaii Department of Planning", "The County of Hawaii Corporation Counsel", "The

    County of Hawaii Department of Public Works", "The State of Hawaii Attorney General",

    and the "State of Hawaii Department of Commerce and Consumer Affairs".


    As the record shows.

    HAWAII REVISED STATUTES CHAPTER 414D HAWAII NONPROFIT CORPORATIONS ACT

    "[§414D-81] Admission. (b) No person shall be admitted as a member without the
    person's consent.      [L 2001, c 105, pt of §1)"

    For then, property owners at "Ranchos Estates" are legally entitled to deny all
    "membership" with "HAWAIIAN RANCHOS ROAD MAINTENANCE
    CORPORA TION/HRRMC", and therefore have no obligation to "HRRMC".

    Furthermore, "HRRMC" does not own any "road" at "Ranchos", nor does "HRRMC" have
    any contract with the "road owners".

    For the "road" "owners at "Ranchos" are:
    increment 1 (west side, highway to bottom of "Ranchos")- "KBSF LAND CO INC",
    increment 2 (center section, Maile Rd. to bottom of "Ranchos')- "US TRUST", "GRAYCO
    LAND ESCROW LTD"
    increment 3 (east side, highway to bottom of "Ranchos")- "GRAYCO LAND ESCROW LTD",
    "WELLS FARGO REAL TY SERVICES";

    "§414D-89 Termination, expulsion, and suspension. (a) No member may be
    expelled or suspended, and no membership or memberships in such corporations may
    be terminated or suspended except pursuant to a procedure that is fair and reasonable,
    and is carried out in good faith."

    For therefore, "HRRMC" may not deny voting rights, deny access to gate key, deny
    access to "voluntary membership" meetings or events, etc. with voluntary membership
    ability to rebuttal any and all infringements to protected rights.


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   "§414D-245 Effect of dissolution. (a) A dissolved corporation continues its corporate
   existence but shall not carry on any activities except those appropriate to wind up and
   liquidate its affairs ... "

   For upon property owners exercise of right to dissolve "HRRMC", all further actions by
   "HRRMC" are limited to liquidation and resolution of claims by injured parties.

   "§414D-252 Grounds for judicial dissolution. (a) The court may dissolve a
   corporation in a proceeding by the attorney general if it is established that:(2) The
   corporation has continued to exceed or abuse the authority conferred upon it by law;
   (3) The corporation is a public benefit corporation and the corporate assets are being
   misapplied or wasted; or (4) The corporation is a public benefit corporation and is no
    longer able to carry out its activities." "(b) In a proceeding by fifty members or
    members holding five per cent of the voting power, whichever is less, or by a director or
    any person specified in the articles, the court may dissolve a corporation if it is
    established that" : "(2) The directors or those in co ntrol of the corporation have acted,
    are acting, or will act in a manner that is illega l, oppressive, or fraudulent; " "(4) The
    corporate assets are being misapplied or wasted."

    For then, when 50 or more "Ranchos" property owners agree that in the best interest of
    "Ranchos" property owners to dissolve "HRRMC", this can be accomplish ed through the
    operation of public servants who originally empowered "HRRMC" . These public ser vants
    include:

    STATE OF HAWAII ATTORNEY GENERAL CORPORATION;

    STATE OF HAWAII DEPT. OF COMMERCE AND CONSUMER AFFAIRS;

    COUNTY OF HAWAII DEPARTMENT OF FINANCE;

    COUNTY OF HAWAII PLANNING DEPT.;

    COUNTY OF HAWAII CORPORATION COUNSEL;

         Request for Judicial Dissolution for "HRRMC", a Hawaii nonprofit corporation"

    For I, - - - - - - - ~ hereon allege that " HAWAIIAN RAN CHOS ROAD
    MAINTENANCE CORPORATION, a Hawaii nonprofit corporation " [hereon after "HRRMC"]
    doing business at "92-1347 Kohala Blvd., Ocean View, Hawaii, 96737-7007 ": has
    committed the following acts (which are checked and underlined) as follows:

    @"continued to exceed or abuse the authority conferred upon it by law";

     0"The corporate assets are being misapplied or wasted";
     0 "no longer able to carry out its activities";




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    0"those in control of the corporation have acted, are acting, or will act in a manner that
    is illegal, oppressive, or fraudulent"

    For I - -- - - - -- - - ~ interest in or owner of_ property(ies) at "Hawaiian
    Ocean View Ranchos Estates" hereby elect to "Dissolve" "HRRMC, a Hawaii nonprofit":

    One Vote for each owned property: _ ;

    For I, _ _ _ _ _ _ _ _ __, hereon request law enforceme nt and or public

    servants operating oversight for "HRRMC, a Hawaii nonprofit" to investigate and

    prosecute "HRRMC" "Board members" for the following acts (which are underlined) as

    follows:

    "embezzlem ent";       "extortion" ;   "misapprop riation of private trust money dedicated

    to road maintenance";       "stalking";    "harassment";        "death threat";      "libel";

    "slander";   "making false police complaints"; "over-reach ";            "vexatious or

    unauthorized employmen t of "ATTORNEY(S)" to attack " Hawaiian Ocean View Ranchos

    Estates" property owners/beneficiaries";         "cursing at", "yelling at" and/or "flipping off'

    property owners/beneficiaries;         "terrorization";     "senior/eld er abuse";      "self

    enrichment ";      "tax fraud";   "theft"; "attempted theft";         "breach of fiduciary duties";

    "breach oftrust";      "manipulation of the justice system"; "assau lt";          "intimidatio n";

    "inciting injury/harm /damage and/or loss against beneficiary land owners"; "publication

    and/or distribution of false, misleading, or propaganda type information about

    beneficiaries"; "slander of title/proper ty lien";        "falsified billing";   "over-billing";

     "racketeering";     "threat";         "failure to maintain roads";         "roads owned by

     "GRAYCO LAND ESCROW LTD" and others w ith no contract with "HRRMC";

     "converting a "moral obligation" into "mandatory extortion" by "threat";




     remedy mandated is compensation for all costs, damages, CHARGES ($$121,700 ,000.00

     LM), punitive damages, exemplary damages, and special damages for senior abuse and

     financial exploitation.




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   By non-juristic consultant, advisor, administrator/creditor/lienholder,
   Holder·in·Due·Course sui juris: h.l. m. noilani :mason ["Mathilda N. Mason" trade
   name]:



   ·r    J01:~3~ w~ ~~~.~
           "M. N. Mason"               "h. I. mathilda-noilani; mason"
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    By non-juristic consultant, advisor, administrator/creditor/lienholder,
    Holder·in-Due·Course sui juris: h.l. m. noilani :mason ["Mathilda N. Mason" trade
    name]:

         November 26, 2023 A.D.:by/ sui juris " I am"


                                                                                                                    II
    I(




           "W. M. Gilroy"                                                       "william

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    copied for any purpose.

    For Costs and CHARGES this document Payable to "h.l. william-m. :gilroy" and "m. noilani mason":


                                                        $$Sixty-One Thousand & 00/100 Dollars lawful money


                                                        61 pages; cost $$61,000.00 LM




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   Certificate ofservice: on                , 2023 A.D.     at _ __ am/pm: "Notice of                . I

   Removal case 374", True bill of exchange, due and payable to Order of "h.l.
   william-m. :gilroy" for DEPOSIT only. USPO mail served to:
   R.JC.O. "Robert Dale Triantos", P.O. Box 4247, Kailua Kona, Hawaii,96745,
   R.I.C.O. "Roy Jay Thornton " and others, nonprofit "HRRMC", box 7007, Ocean View,
   Hawaii, 96737
    "Ke/den Waltjen", 655 Kilauea Ave., Hilo, Hawaii, 96720;
    "HRCA ", box 6062, Ocean View, Hawaii, 96737;
    "THE JUDICIAR Y" "Rodney Maile", 417 So. King St., 209, Honolulu, 96813-2943;
    "COUNTY OF HAWAil""R EAL PROPERTY TAX", 101 Pauahi St. Suite 4, Hilo,
    96720-4224;
    "MUTUAL UNDERWRITERS", 74-5565 Luhia St. , Unit A4A, Kailua Kona, Hawaii,
    "HAWAII STATE BAR ASSOCIAT ION CORPORA TION", Rhonda L. Griswold, 1100
    Alakea St., Ste. 1000, Honolulu, 96813;
    "COUNTY OF HAWAII CORPORATION COUNSEL", Elizabeth Strance/Justin C.
    Lee/Dali/ah Elise Schlueter/Britt Bailey, 101 Aupuni St., Ste. 325, Hilo, Hawaii, 96720;
    Rene Hermann Heimgartner, P.O. Box 1839, Kailua Kana, Hawaii, 96745;
    David Harrison Lawton/Carol Monahan Jung/ Francis L. Jung/Thomas Wayne
    Vassar/Emi l Anthony Macasinag, Suite JOO, 75-5722 Kuakini Hwy, Kailua Kana, Hawaii,
    96740;
    BETTER BUSINESS BUREAU, 1120 S. Rackham Way, Suite 300. Meridian, ID 83642
    FEDERAL BUREAU OF INVESTIGATION, 91-1300 Enterprise St., Kapolei, Ha. 96707
    UNl1'ED STATES MARINE CORPS. 36 Assistant Commandan t General Eric M Smith,
                                           th


    MARINE CORPS BASE, CAMP PENDLETO N CA. POSTAL OFFICER. MILITARY POST
    OFFICE. BOX 555001. CAMP PENDLETO N CALIFORNIA 92055-5001, all. claim for treason
    committed by public servants;

                   2023 A .D. by "honorable lord malhilda"; "h. I. william
                                                                             11
    November _




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   Mighty 1 AM, bind fallen angels, godless creation. Blaze power of Great Central Sun
   binding Ser-pent, his seed, seed of Satan Lucifer.LORD God Almighty this day By
   authority of Christ within, we seek this day to give protection to Keeper of Flame,
   Lightbearer, all destined to make ascension. cutting free Messengers, staff, students of
   Masters' Teachings. LORD's host- clear the way for Teachings, reach man, woman, and
   child of God's heart. Archangel Michael, We call God-victory now over enemies,
   betrayers of living Word who- with avowed destrnction- move against Messenger,
   Teaching and Body of God.these individuals be bound, their evil intent nullified, by
   power of Archangel Michael. setting free Lightbearers- freedom fighters to Cut
   economies, governments, people, educational systems, youth and children Cut free,
   Archangel Michael with your mighty sword. Cut us free from binding habit,
   self-limitation, spiritual blindness, selfishness and self-love that does not enable us to see
   Thy Will clearly, 0 God.Father, in name of Archangel Michael- bind hordes of demons,
   discamates, entire crowd of fallen ones who plotted betrayal, judgment, trial and
   cruci-fixion of Jesus Christ and continue to plot against sons and daughters of God. Blaze
   Light through! Final Judgment of spec i fi c I i fest ream s ,0 Go d - a 11t h o s e
   whose names are not found written in Book of Life: the exorcism by Michael of ones
   possessing demons, discarnate's working against God's people- such as: slanders, thieves,
   tyrants, breacher's of the public trust, terrorists, abusers, stalkers, threatener's, embezzlers,
   ext011ionists, coveter's: namely:



     familytriantos georgetriantos robertdaletriantos familythornton roythorntonsenior
     roymarcellathorntonfamilyfogelvik matsmairafogelvik, familymay phillismmay
     familygerbo miketrishgerbo familytaylor rolandtaylorfamilystrance familyhawk
     jeffreyalanaubreyariannolsonhawkfamilykubota peterkenjikubotafamilynakamoto
      hemynakam oto familylawton davidharrisonlawton family lee Justin lee familystrance
      elizabethstrance familyjung Jami lyvassar Jam ilysalmo che1ylsalmo familyheimgartner
      the parents thereof• the ancestors thereof



    In the name I AM, 0 God Come forth, descend. We seek bindi11g and judgment of false witnesses, accusers,
    condemners. binding of Liars, Murderers with murderous intent in conspiracy against United States
    America, We call Life and Liberty, cutting free God's people from World Communism, materialism,



                                     it\ ·i ~ ~
    cancers of evil and foul spirits possessing souls and bodies of people.Jesus and Mother Mary, We commit
    prayers, our spirits, spirits and souls of our fami lies, friends, loved ones, and all whom are Lightbearers In
    holy name ofGod, I AM, so be




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